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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                 8:16CR142
                      Plaintiff,              )
                                              )
         vs.                                  )                  ORDER
                                              )
JOSE MARTINEZ-PENA                            )
                                              )
                      Defendant.              )
         This matter is before the court on the motion to continue by defendant Jose
Martinez-Pena (Martinez-Pena) (Filing No. 47). Martinez-Pena seeks a continuance of the
trial of this matter was scheduled for August 15, 2016. Upon consideration, the motion will
be granted.


         IT IS ORDERED:
         1.    Martinez-Pena's motion to continue trial (Filing No. 47) is granted.
         2.    Trial of this matter is re-scheduled for September 12, 2016, before Senior
Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between
August 10, 2016, and September 12, 2016, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 10th day of August, 2016.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken

                                                  United States Magistrate Judge
